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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               April 2022 Grand Jury

11   UNITED STATES OF AMERICA,                ED CR No. 5:23-cr-00002-SSS

12             Plaintiff,                     I N D I C T M E N T

13             v.                             [21 U.S.C. §§ 841(a)(1),
                                              (b)(1)(A)(vi): Distribution of
14   ANTHONY SHANE DANCY,                     Fentanyl]
15             Defendant.

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17         The Grand Jury charges:

18                    [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(vi)]

19         On or about May 17, 2021, in Riverside County, within the

20   Central District of California, defendant ANTHONY SHANE DANCY

21   knowingly and intentionally distributed at least 400 grams, that is,

22   approximately 1,530 grams, of a mixture and substance containing a

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